

Matter of Michel B. v Administration for Children's Servs. (2020 NY Slip Op 07487)





Matter of Michel B. v Administration for Children's Servs.


2020 NY Slip Op 07487


Decided on December 15, 2020


Appellate Division, First Department



Published by New York State Law Reporting Bureau pursuant to Judiciary Law § 431.


This opinion is uncorrected and subject to revision before publication in the Official Reports.



Decided and Entered: December 15, 2020

Before: Kapnick, J.P., Mazzarelli, Singh, Kennedy, JJ. 


Docket No. V-11421/19 Appeal No. 12643 Case No. 2020-01536 

[*1]In Matter of Michel B., Petitioner-Appellant,
vAdministration for Children's Services, et al., Respondents-Respondents.


Richard L. Herzfeld, P.C., New York (Richard L. Herzfeld of counsel), for appellant.
James E. Johnson, Corporation Counsel, New York (Claibourne Henry of counsel), for respondents
.



Appeal from order, Family Court, New York County (Jane Pearl, J.), entered on or about January 21, 2020, which dismissed the petition for custody of the subject child for lack of standing, unanimously affirmed, without costs.
Application by petitioner's counsel to withdraw as counsel is granted (see Anders v California, 386 US 738 [1967]; People v Saunders, 52 AD2d 833 [1st Dept 1976]). A review of the record demonstrates that there are no nonfrivolous issues which could be raised on appeal. Family Court properly dismissed the custody petition for lack of standing, as the child had already been freed for adoption, and his custody and guardianship awarded to respondent agency (see e.g. Matter of Carmen P. v Administration for Children's Servs., 149 AD3d 577 [1st Dept 2017]). Furthermore, the 13-year-old child expressed that he wished to be adopted by his long-term foster parent, not petitioner, which was entitled to great weight given his age (see Melissa C.D. v Rene I.D., 117 AD3d 407, 408 [1st Dept 2014]). THIS CONSTITUTES THE DECISION AND ORDER
OF THE SUPREME COURT, APPELLATE DIVISION, FIRST DEPARTMENT.
ENTERED: December 15, 2020








